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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 THE FEDERAL REPUBLIC OF NIGERIA, et al.,                           :
                                                                    :
                                              Applicants,           :   20 Misc. 209 (LGS)
                                                                    :
                            -against-                               :        ORDER__
                                                                    :
 VR ADVISORY SERVICES, LTD., et al.,                                :
                                                                    :
                                              Respondents.          :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, a telephonic conference was held on October 12, 2022, at 5:15 P.M. It is

hereby

         ORDERED that, by October 21, 2022, the parties shall file a joint letter with proposed

next steps in this action.

Dated: October 13, 2022
       New York, New York
